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_________________________________________________________________________________

                                                           SO ORDERED,



                                                           Judge Jason D. Woodard
                                                           United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________

                   IN THE UNITED STATES BANKRUPTCY COURT FOR
                       THE NORTHERN DISTRICT OF MISSISSIPPI

   IN THE MATTER OF:                                                      CHAPTER 13 CASE NO.:

   WESLEY L. BAILEY                                                       19-10350-JDW

       CONSENT ORDER REGARDING FILING OF REQUIRED TAX RETURNS

           THIS MATTER came before the Court on the request of the parties for the entry of
   an order to address the filing of prepetition tax returns as required by 11 U.S.C. §§
   1325(a)(9) and 1308. At this time the Debtor 1 has not filed the required tax returns for the
   2018 tax year; however, the deadline for the filing such returns, April 15, 2019, has yet to
   pass. The parties recognize that the filing of all prepetition tax returns is a requirement for
   confirmation; therefore, the parties agree that the entry of this order is necessary.                  The
   agreement of the parties, as expressed herein, is hereby approved by the Court.

           IT IS THEREFORE ORDERED AND ADJUDGED, that the Debtor shall file all
   required tax returns for the 2018 tax year on or before April 15, 2019, subject to the other
   provisions of this Order. A copy of the 2018 Federal tax return must be provided to the
   Trustee within three (3) business days following the filing of such return.
           IT IS THEREFORE ORDERED AND ADJUDGED, that if the Debtor obtains an
   automatic extension for the filing of Federal tax returns, using IRS Form 4868, the Debtor
   shall (a) provide the Trustee with a copy of IRS Form 4868, and (b) proof that the estimated


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    The above-referenced Debtor or Debtors shall be referred to herein in the singular as Debtor unless
   specified otherwise.


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   taxes due have been paid. Such proof must be provided to the Trustee within three (3)
   business days following the filing of the IRS Form 4868. In the case of an extension, the
   Debtor shall file all required tax returns for the 2018 tax year on or before October 15,
   2019. A copy of the 2018 Federal tax return must be provided to the Trustee within three
   (3) business days following the filing of such return.
          IT IS FURTHER ORDERED, that the failure of the Debtor to comply with the
   terms of this Order shall result in the denial of confirmation and dismissal of this
   bankruptcy case, without the necessity of further notice or hearing.
                                   ### END OF ORDER ###


   AGREED & APPROVED:

   /s/ W. Jeffrey Collier
   W. JEFFREY COLLIER
   MELANIE T. VARDAMAN
   ATTORNEYS FOR TRUSTEE
   6360 I-55 North, Suite 140
   Jackson, Mississippi 39211
   (601) 355-6661
   ssmith@barkley13.com


   /s/ Karen B. Schneller
   KAREN B. SCHNELLER
   ATTORNEY FOR DEBTOR




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